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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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' SUPERSEDING INDICTMENT
UNITED STATES OF AMERICA
S3 17 Cr. 225 (NSR)
- Veo
CHUKWUEMEKA OKPARAEKE,
a/k/a “Emeka, *
Defendant.
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COUNT ONE
The Grand Jury charges:
1, From at least in or about July 2016, up to and

including in or about March 2017, in the Southern District of
New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,”
the defendant, and others known and unknown, intentionally and
knowingly did combine, conspire, confederate, and agree together
and with each other to violate the narcotics laws of the United
States,

2. It was a part and an object of the conspiracy that
CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant, and others
known and unknown, would and did distribute and possess with
intent to distribute a controlled substance and a controlled
substance analogue, in violation of Title 21, United States

Code, Section 841 (a) (1).

 
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3. The controlled substance that CHUKWUEMEKA OKPARAEKE,
a/k/a “Emeka,” the defendant, conspired to distribute and
possess with intent to distribute was 4-anilino-N-phenethyl-4-
piperidine (known as “ANPP” or “4-ANPP”), in violation of Title
21, United States Code, Section 841(b) (1) (c).

4, The controlled substance analogue that CHUKWUEMEKA
OKPARAEKE, a/k/a “Emeka,” the defendant, conspired to distribute
and possess with intent to distribute was 100 grams and more of
mixtures and substances containing a detectable amount of N-(1-
phenethylpiperidin-4-yl) -N-phenylacrylamide (known as “acryl
fentanyl” or “acryloylfentanyl”), a controlled substance
analogue, as defined in Title 21, United States Code, Section
802({32), that was intended for human consumption and is treated
as a controlled substance in Schedule I of the Controlled
Substances Act, and that is an analogue of N-phenyl-N- [1- (2-
phenylethyl) -4-piperidinyl] propanamide (“fentanyl”), in
violation of Title 21, United States Code, Sections 813 and
841(b) (1) (A).

(Title 21, United States Code, Section 846.)
COUNT TWO

The Grand Jury further charges:

5. From at least in or about July 2016, up to and
including in or about November 2016, in the Southern District of

New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,”

 
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the defendant, and others known and unknown, intentionally and
knowingly did combine, conspire, confederate, and agree together
and with each other to violate the narcotics laws of the United
States.

6. It was a part and an object of the conspiracy that
CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant, and others
known and unknown, would and did distribute and possess with
intent to distribute controlled substance analogues, in
violation of Title 21, United States Code, Section 841{(a}{1).,

7. The controlled substance analogues that CHUKWUEMEKA
OKPARAEKE, a/k/a “Emeka,” the defendant, conspired to distribute
and: possess with intent to distribute were (a) 100 grams and
more of mixtures and substances containing a detectable amount
of N-(1-phenethylpiperidin-4-yl1) -N-phenylfuran-2-carboxamide
(known as “furanyl fentanyl”), a controlled substance analogue,
as defined in Title 21, United States Code, Section 802(32),
that was intended for human consumption and is treated as a
controlled substance in Schedule I of the Controlled Substances
Act, and that is an analogue of N-phenyl-N- [1- (2-phenylethyl1) -4-
piperidinyl] propanamide (“fentanyl”), in violation of Title 21,
United States Code, Sections 813 and 841(b) (1) (A); and (b) 3,4-
Dichloro-N- [2- (dimethylamino) cyclohexy1] -N-methylbenzamide
(known as “U-47700"), a controlled substance analogue, as

defined in Title 21, United States Code, Section 802{32), of

 
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3,4-dichloro-N-((1-dimethylamino) cyclohexylmethyl] benzamide
(known as “AH-7921"), that was intended for human consumption
and is treated as a controlled substance in Schedule I of the
Controlled Substances Act, in violation of Title 21, United
States Code, Sections 813 and 841(b) (1) (Cc).
{Title 21, United States Code, Section 846.)
COUNT THREE

The Grand Jury further charges:

8. From in or about November 2016, up to and including in
or about March 2017, in the Southern District of New York and
elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant,
and others known and unknown, intentionally and knowingly did
combine, conspire, confederate, and agree together and with each
other to violate the narcotics laws of the United States.

9. It was a part and an object of the conspiracy that
CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant, and others
known and unknown, would and did distribute and possess with
intent to distribute controlled substances, in violation of
.- Title 21, United States Code, Section 841(a) (1).

10. The controlled substances that CHUKWUEMEKA OKPARARKE,
a/k/a “Emeka,” the defendant, conspired to distribute and
possess with intent to distribute were (a) 100 grams and more of
mixtures and substances containing a detectable amount of N-(1-

phenethylpiperidin-4-yl) -N-phenylfuran-2-carboxamide (known as

 
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“furanyl fentanyl”), an analogue of N-phenyl-N- [1- (2-
phenylethyl) -4-piperidinyl] propanamide (“fentanyl”), in
violation of Title 21, United States Code, Section 841 (b) (1) (A);
and (b) 3,4-Dichloro-N- [2- (dimethylamino) cyclohexyl] -N-
methylbenzamide (known as “U-47700"), in violation of Title 21,
United States Code, Section 841(b) (1) (Cc).

(Title 21, United States Code, Section 846.)

COUNT FOUR

The Grand Jury further charges:

11. From in or about January 2017, up to and including in
or about February 2017, in the Southern District of New York and
elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant,
knowingly and intentionally did import and attempt to import
into the United States from any place outside thereof a
controlled substance analogue, to wit, OKPARAEKE imported and
attempted to import a controlled substance analogue into the
United States from Hong Kong, in violation of Title 21, United
States Code, Sections 952(a), 960(a) (1), and 963.

12. The controlled substance analogue that CHUKWOEMEKA
OKPARAEKE, a/k/a “Emeka,” the defendant, knowingly and
intentionally imported and attempted to import was 100 grams and
more of mixtures and substances containing a detectable amount
of N-(1-phenethylpiperidin-4-yl)-N-phenylacrylamide (known as

“acryl fentanyl” or “acryloylfentanyl”), a controlled substance

 
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analogue, as defined in Title 21, United States Code, Section
.802(32), that was intended for human consumption and is treated
as a controlled substance in, Schedule I of the Controlled
Substances Act, and that is an analogue of N-phenyl-N- [1-(2-
phenylethyl})-4-piperidinyl] propanamide (“fentanyl”), in
violation of Title 21, United States Code, Sections 813 and
960(b) (1) (F).

(Tatle 21, United States Code, Sections 813, 952(a), 960(a)(1},
960 (b) (1) (F), 963.)

COUNT FIVE

The Grand Jury further charges:

13. From in or about January 2017, up to and including in
or about February 2017, in the Southern District of New York and
elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the defendant,
intentionally and knowingly attempted to distribute and possess
with intent to distribute a controlled substance analogue, in
violation of Title 21, United States Code, Sections 841 (a) (1)
and 846.

14. The controlled substance analogue that CHUKWUEMEKA
OKPARAEKE, a/k/a “Emeka,” the defendant, intentionally and
knowingly attempted to distribute and possess with intent to
distribute was 100 grams and more of mixtures and substances
containing a detectable amount of N-(1-phenethylpiperidin-4-yl1)-
N-phenylacrylamide (known as “acryl fentanyl” or

“acryloylfentanyl”"), a controlled substance analogue, as defined

 
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in Title 21, United States Code, Section 802(32), that was
intended for human consumption and is treated as a controlled

_ Substance in Schedule I of the Controlled Substances Act, and
that is an analogue of N-phenyl-N- [1- (2-phenylethy1l) -4-
piperidinyl] propanamide (“fentanyl”), in violation of Title 21,
United States Code, Sections 813 and 841(b) (1) (A).

(Title 21, United States Code, Sections 813, 841(a) (1),
841(b) (1) (A), 846.)

COUNT SIX

The Grand Jury further charges:

15. In or about January 2017, in the Southern District of
New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,”
the defendant, intentionally and knowingly distributed and
possessed with intent to distribute a controlled substance, in
violation of Title 21, United States Code, Section 841{a)(1}.

16. The controlled substance that CHUKWUEMEKA OKPARAEKE,
a/k/a “Emeka,” intentionally and knowingly distributed and
possessed with intent to distribute was N-(1-phenethylpiperidin-
4-yl)-N-phenylfuran-2-carboxamide (known as “furanyl fentanyl”),
in violation of Title 21, United States Code, Section
841 (b) (1) (Cc).

(Title 21, United States Code, Sections 841(a) (1),
841 (b) (1) (Cc) .)

 
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COUNT SEVEN

The Grand Jury further charges:

17. In or about March 2017, in the Southern District of
New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka, ”
the defendant, knowingly and intentionally did import into the
United States from any place outside thereof a controlled
substance, to wit, OKPARAEKE imported a controlled substance
into the United States from Hong Kong, in violation of Title 21,
United States Code, Sections 952(a) and 960(a) (1).

18. The controlled substance that CHUKWUEMEKA OKPARAEKE,
a/k/a “Emeka,” the defendant, knowingly and intentionally
imported was 3,4-Dichloro-N- [2- (dimethylamino) cyclohexyl1] -N-
methylbenzamide (known as “U-47700"}, in violation of Title 21,
United States Code, Section 960(b) (3).

(Title 21, United States Code, Sections 952(a), 960{a)(1),
960 (b) (3) .3

COUNT EIGHT

The Grand Jury further charges:

19. In or about November 2016, in the Southern District of
New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,”
the defendant, intentionally and knowingly distributed and
possessed with intent to distribute a controlled substance
analogue.

20. The controlled substance analogue that CHUKWUEMEKA

OKPARAEKE, a/k/a “Emeka,” the defendant, intentionally and

 
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knowingly distributed and possessed with intent to distribute
was 3,4-Dichloro-N- [2- (dimethylamino) cyclohexyl] -N-
methylbenzamide, (known as “U-47700"%), a controlled substance
analogue, as defined in Title 21, United States Code, Section
802(32), of 3,4-dichloro-N- [(1-dimethylamino)
cyclohexylmethyl]benzamide (known as “AH-7921"), that was
intended for human consumption and is treated as controlled
substance in Schedule I of the Controlled Substances Act, in
violation of Title 21, United States Code, Sections 813 and
841 (b) (1) (Cc).

21. The use of the controlled substance analogue
distributed by CHUKWUEMEKA OKPARAEKE, a/k/a “Emeka,” the
defendant, resulted in the death of Timothy N. Teklinsky, on or
about November 10, 2016.

(Title 21, United States Code, Sections 813, 841(a) (1),
841 (b) (1) (C) .)

FORFEITURE ALLEGATION
22. As a result of committing the offenses alleged in
Counts One through Eight of this Indictment, CHUKWUEMEKA
OKPARAEKE, a/k/a “Emeka,” the defendant, shall forfeit to the
United States, pursuant to Title 21, United States Code, Section
853, any and all property constituting, or derived from, any
proceeds obtained, directly or indirectly, as a result of said

offenses and any and all property used, or intended to be used,

 
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in any manner or part, to commit, or to facilitate the
commission of, said offenses, including but not limited to:

a. a sum of money in United States currency
representing the amount of proceeds traceable to the commission

of said offenses; and

b. all right, title and interest of the defendant in
the following specific property: 680.3158331 bitcoins, including

but not limited to:

1. the balance (252.30636346 bitcoin} of bitcoin
address 1PotQ1V1L£EFG3NAVWKM7AcNY¥e2PA3f5aspa;
ii. the balance (17.45565801 bitcoin) of bitcoin
address 1HzuqUjMymiSxbiddVkkz5EHd5SV8dY5TEE ;
lit. the balance (2.24978112 bitcoin) of bitcoin
address 13QDhs1RHAbssAkTWXQHQyXmAKCeB66un1]1 ;
iv. the balance (0.55796281 bitcoin) of bitcoin
address 18FhEW1I2B7uV134T£AdAuUhyiGCVhj]RTKSa ;
v. the balance (0.29061206 bitcoin) of bitcoin
address 1JCsNixVe5mgd4uFRw6qW8rljMhfacKyha;
vi. the balance (0.00082528 bitcoin) of bitcoin
address LEXcCab5uVnNvnatUsQekr7c2Vg2D8ihxLe; and
vil. the balance (407.45463031 bitcoin) of bitcoin

address 1ApaYNbSwUSS5uifxdGZzdhxGJaJgqowvVMNWY.

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Substitute Assets Provision

 

23. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

Cc. has been placed beyond the jurisdiction of the
Court ;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), to seek forfeiture of any
other property of the defendant up to the value of the above
forfeitable property.

(Title 21, United States Code, Section 853.)

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FOREPERSON GEOFFREY ¢. BERMAN
United States Attorney

 

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Form. No. USA-33s-274 (Bd. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

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CHUKWUEMEKA OKPARAEKE,

Defendant.

 

SUPERSEDING INDICTMENT

 

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(21 U.S.C. §§ 813, 841{a) (1),
841(b) (1) (A), 841 (b) (1) (C), 846, 952(a),
960(a}) (1), 960(b) (1) (F), 960(b) (3),
963.)

Wud (aut GEOFFREY S. BERMAN
wt

Foreperson. United States Attorney.

 

 
